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DU`/ IN THE UNITED STATES I)ISTRICT COURT 05 JU%! 16 fn 6 he
FOR THE WESTERN DISTRICT OF TENNESSEE “ i' '
WESTERN DIVISION

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AUGUSTI, er al., ) we or rr.z, smart-irs
)
Plaintiffs, ) \
)
V- ) NO.: 2:04cv02454-BBD-sta
)
FEDERAL ELECnoN CoMMIssIoN, ) MorloN § MOTION GRAN'[_ED
) oA - -3' ~ 5
Defendant. )
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OF THE ADMINISTRATIVE RECORD

The F ederal Election Commission (“Commission”) hereby requests that this

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Court hold in abeyance the filing of the administrative record, due May 26, 2005, until
Mr. Augusti officially withdraws the case or hires counsel by May 27, 2005, so that the

Court is not unnecessarily burdened with that administrative record. We have been

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unable to contact Mr. Augusti about this motion.
On May 19, 2005, Mark Augusti informed the Commission that he planned to

withdraw the case or otherwise not proceed because of Judge Donaldson’s ruling of

 

April 26, 2005, dismissing the case as to Mark Augusti and ordering Mark A. Augusti for
Congress to hire counsel within 30 days of her ruling or face dismissal for lack of
prosecution Pursuant to Magistrate J ridge Anderson’s scheduling order dated March l l,
2005, the Commission must file the administrative record in this case on May 26, 2005.
The Commission has not yet received official notice f`rorn Mr. Augusti or the Court that
the case has been withdrawn, and attempts to contact him have not been successful

However, in light of Mr. Augusti’s representations about withdrawing the case, the

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Commission requests that it be relieved of its obligation to file the administrative record
until the status of the case is resolved, which should occur within a few days. The
Commission is prepared to file the administrative record with 43 hours notice.
Respectfully submitted,
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Lawrence H. Norton
General Counsel

 

 

Richard B. Bader
Asso iate General Counsel

   
  

 

 

Colleen T. Sealander
Assistant General Counsel

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Attorney

FOR THE DEFENDANT

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May 25, 2005

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TRICT C

Notice of Distribution

This notice confirms a copy of` the document docketed as number 15 in
case 2:04-CV-02454 was distributed by f`aX, mail, or direct printing on
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ESSEE

 

Holly J. Baker

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Honorable Bernice Donald
US DISTRICT COURT

